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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

In Re: KATRINA CANAL BREACHES § CIVIL ACTION
CONSOLIDATED LITIGATION § NO. 05-4182
§ SECTION "K’(2)
§ JUDGE DUVAL
§ MAG. WILKINSON
PERTAINS TO: §
§
ALL CASES §
§
§
§
§

NOTICE OF CASE DESIGNATION

NOW INTO COURT, come Defendants Liaison Counsel, Ralph S. Hubbard III, and
Plaintiffs Liaison Counsel, Joseph M. Bruno, who, pursuant to the Court’s Case Management Order
Number I, entered on July 19, 2006, and the Court’s Case Management Order Number 2, entered on

October 21, 2006, do hereby provide the following designation of the cases listed herein’:

Case Name Case Number Pertains To
Harvey et al v. Board of Commissioners for the Orleans Noa. 05-4568 Levee

Levee District, Parish of Orleans
(remanded to State Court)

Conlay v. Encompass Insurance Company et al No. 06-0151 Insurance
Xavier University of Louisiana v. Travelers Property Casualty | No. 06-0516 Insurance
Company of America

1 This list reflects ail cases that were not listed on the most recently filed Notice of Designation dated August 15,

2006 (Doc. 922),

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Case Name Case Number Pertains To
Harvey et al v. Board of Commissioners for the Orleans 06-3529 Levee
Levee District, Parish of Orleans
(remanded to State Court)
Weeks Marine, Inc. v. Great American Insurance Company of | No. 06-3544 MRGO
New York
O’Dwyer v. The United States of America No. 06-4024 MRGO
O’Dwyer, et al. v. Department of Transportation and | No. 06-4389 Levee, MRGO
Development, et al.
G. Adams, et al. vs. Boh Brothers Construction Company, | No. 06-4634 Levee
LLC, et al.
Brock, et al. vs. Boh Brothers Construction No. 06-4931 Levee
Company, L.L.C., et al.
Joseph, et al. v. New Orleans Sewage and Water Board, etal. | No. 06-5032 Levee
Sims et al.v. Board of Commissioner for the Orleans Levee | No. 06-5116 Levee
District et al.
Richard et al. v. Port of New Orleans et al. No. 06-5118 Levee, MRGO
DePass et al. v. Board of Commissioners for the Orleans | No. 06-5127 Levee
Levee District et al.
M. Adams et al. v. Port of New Orleans et al. No. 06-3128 Levee, MRGO
Bourgeois et al. v. Port of New Orleans et al. No. 06-5131 Levee, MRGO
Ferdinand et al v. Port of New Orleans et al No. 06-5132 Levee, MRGO
Christophe et al v. Port of New Orleans et al No. 06-5134 Levee, MRGO
S. Williams et al v. Port of New Orleans et al No. 06-5137 Levee, MRGO
Porter et al v. Port of New Orleans et al No. 06-5140 Levee, MRGO
Augustine et al v. Port of New Orleans et al No. 06-5142 Levee, MRGO
Fleming, et al. v. The United States of America; The United | No. 06-5159 Levee
States Army Corps of Engineers
Holmes, et al. v. The United States of America; The United | No. 06-5161 Levee
States Army Corps of Engineers
Anderson et al v. United States of America et al No. 06-5162 MRGO
Gordon, et al. v. United States of America, et al. No. 06-5163 Levee
Abadie, et al. v. Aegis, et al. No. 06-5164 Insurance
LeDuff et al v. Boh Bros. Construction Company, LLC et al | No. 06-5260 Levee, MRGO
Gisevius, Jr., et al. v. Boh Brothers Construction Company, | No. 06-5308 Levee
LLC, et al.
Breithoff (Weller), et al. v. Modjeski and Masters, Inc., etal. | No. 06-5367 Levee
Austin et al v. Allstate Fire and Casualty Insurance Company | No. 06-5785 Insurance

et al

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Case Name Case Number Pertains To
Cochran et al v. Boh Brothers Construction Co., LLC et al No. 06-5785 Levee
O'Dwyer v. Department of Transportation And Development, Levee, Responder
State of Louisiana et al
Yacob, et al. v. Board of Commissioners for the Orleans | No. 06-5937 Levee
Levee District, et al.
Deane et al v. Boh Bros. Construction Co., L.L.C. et al No. 06-6473 Levee
Hanna v. Farm Bureau Insurance Companies et al No. 06-6481 Insurance
Rodrigue et al v. Buffman, Inc. et al No. 06-6639 St. Rita

Attached hereto as Exhibit ‘‘A” is a table identifying the sub-categories for the

consolidated suits presently associated with the In Re: KATRINA CANAL BREACHES

CONSOLIDATED LITIGATION umbrella.

ubmitted, this 24 day of October, 2006.

Respectful

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ee
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CERTIFICATE OF SERVICE

Thereby certify that, on October 2h 2006, a copy of the foregoing was filed. A copy of
this filing will be sent by e-mail to all parties who have appeared in the above-captioned actions

pursuant to the Court’s service instructions,

